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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF OKLAHOMA

UNITED STATES OF AMERICA,

                      Plaintiff,

v.                                                      Case No. 23-CR-053-KS

DARIUS ALEXANDER PRESLEY,

                      Defendant.


                                       INFORMATION

The United States Attorney charges:

                                         COUNT ONE

                  MURDER IN INDIAN COUNTRY – SECOND DEGREE
                         [18 U.S.C. §§ 1111(a), 1151, & 1153]

        On or about December 2, 2022, within the Eastern District of Oklahoma, in Indian Country,

the defendant, DARIUS ALEXANDER PRESLEY, an Indian, with malice aforethought, did

unlawfully kill T.G., in violation of Title 18, United States Code, Sections 1111(a), 1151, and

1153.

                                        COUNT TWO

        ASSAULT WITH INTENT TO COMMIT MURDER IN INDIAN COUNTRY
                       [18 U.S.C. §§ 113(a)(1), 1151, & 1153]

        On or about December 2, 2022, within the Eastern District of Oklahoma, in Indian Country,

the defendant, DARIUS ALEXANDER PRESLEY, an Indian, did assault S.D., with intent to

commit murder in violation of Title 18, United States Code, Sections 113(a)(1), 1151, and 1153.




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                                         COUNT THREE

               USE, CARRY, BRANDISH, AND DISCHARGE A FIREARM
               DURING AND IN RELATION TO A CRIME OF VIOLENCE
                        [18 U.S.C. § 924(c)(1)(A)(i), (ii), & (iii)]

       On or about December 2, 2022, within the Eastern District of Oklahoma, the defendant,

DARIUS ALEXANDER PRESLEY, did knowingly use, carry, brandish, and discharge a firearm

during and in relation to a crime of violence for which he may be prosecuted in a court of the

United States, that is, Murder in Indian Country and Assault with Intent to Commit Murder in

Indian Country as alleged in Counts One and Two of this Information, in violation of Title 18,

United States Code, Section 924(c)(1)(A)(i), (ii), and (iii).

                                          COUNT FOUR

                          FELON IN POSSESSION OF A FIREARM
                             [18 U.S.C. §§ 922(g)(1) & 924(a)(8)]

       On or about December 2, 2022, in the Eastern District of Oklahoma, the Defendant,

DARIUS ALEXANDER PRESLEY, having been convicted of a crime punishable by

imprisonment for a term exceeding one year, and knowing of such conviction, did knowingly

possess in and affecting commerce, the following firearm, to wit: one (1) H&R Inc, model 949,

.22 caliber revolver, s/n:AM1385; which had been shipped and transported in interstate commerce,

in violation of Title 18, United States Code, Sections 922(g)(1) and 924(a)(8).


                                FORFEITURE ALLEGATION
                           [18 U.S.C. § 924(d) & 28 U.S.C. § 2461(c)]

       The allegations contained in Counts One through Four of this Information are hereby re-

alleged and incorporated by reference for the purpose of alleging forfeiture pursuant to Title 18,

United States Code, Section 924(d) and Title 28, United States Code, Section 2461(c).


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       Upon conviction of the violation charged in Counts One through Four of this Information

involving violations of Title 18, United States Code, Sections, 1111(a), 113(a)(1), 1151, 1153,

924(c)(1)(A)(i)(ii), & (iii), 922(g)(1) and 924(a)(8), the defendant, DARIUS ALEXANDER

PRESLEY, shall forfeit to the United States pursuant to Title 18, United States Code, Section

924(d) and Title 28, United States Code, Section 2461(c), all firearms and ammunition involved

in the commission of the offenses, including, but not limited to: one (1) .22 caliber H&R revolver

manufactured by Harrington & Richardson bearing serial number AM 1385.


                                                     CHRISTOPHER J. WILSON
                                                     United States Attorney


                                                     s/ Jordan Howanitz_______________
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